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                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION


 JORDAN ESKEW,                                     §
      Plaintiff                                    §
                                                   §
 v.                                                §       Case No. 1:25-cv-804
                                                   §
 STONE HILTON PLLC,                                §
 CHRISTOPHER HILTON, AND JUDD                      §
 STONE,                                            §
      Defendants.                                  §


                            PLAINTIFF’S ORIGINAL COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT COURT:

         Plaintiff Jordan Eskew files this Original Complaint and would respectfully show the Court

as follows:

                                           Introduction

      1. Plaintiff brings this action for unpaid wage compensation and other relief under the Fair

Labor Standards Act (“FLSA”), as amended, 29 U.S.C. § 201, et seq. Plaintiff seeks damages for

unpaid wages, liquidated damages, and mandatory attorney fees and costs.

      2. Plaintiff also brings this action for intentional infliction of emotional distress seeking

mental anguish and punitive damages.

      3. Plaintiff also brings this action for breach of contract, promissory estoppel, and quantum

meruit seeking actual damages and reasonable attorney fees and costs.




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                                            Jurisdiction
   4. Jurisdiction is conferred on this Court by 28 U.S.C. § 1337 and by 29 U.S.C. § 216(b).

Supplemental jurisdiction is conferred by 28 U.S.C. § 1367(a).

                                               Venue

   5. Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(1) because Stone Hilton

PLLC has offices located in Austin, Texas, and because the events at issue occurred in Austin,

Texas.

                                               Parties

   6. Plaintiff is an individual who resides in Bastrop, Texas.

   7. Defendant Stone Hilton PLLC is a professional limited liability company, formed and

existing under the laws of the State of Texas, and at all times material to this complaint, maintained

and operated a business in Austin, Texas.

   8. Defendant Christopher Hilton is a resident of Austin, Texas, and a managing member of

Stone Hilton PLLC.

   9. Defendant Judd Stone is a resident of Austin, Texas, and a managing member of Stone

Hilton PLLC.

                                                Facts

   10. From late May of 2023 to September of 2023, Plaintiff Jordan Eskew worked for Defendant

Stone Hilton PLLC, a law firm, as an executive assistant.

   11. Plaintiff reported to Defendants Christopher Hilton and Judd Stone, the managing members

of the law firm.

   12. Defendants Stone Hilton PLLC, Christopher Hilton, and Judd Stone were all Plaintiff’s

“employer” under the Texas Labor Code.



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    13. Prior to working for Stone Hilton PLLC, Plaintiff had previously worked with Christopher

Hilton and Judd Stone at the Texas Office of the Attorney General (AG’s Office). Christopher

Hilton was the Chief of the General Litigation Division, and Judd Stone was the Solicitor General.

    14. On May 27, 2023, the Texas House of Representatives voted to impeach Texas Attorney

General Ken Paxton. Solicitor General Stone and Chief of the General Litigation Division

Christopher Hilton started the law firm Stone Hilton PLLC to assist in defending Texas Attorney

General Paxton against the impeachment charges. Solicitor General Stone and Chief of the General

Litigation Division Christopher Hilton asked Plaintiff if she would join Stone Hilton PLLC to

assist in defending Texas Attorney General Paxton against the impeachment charges, and she

agreed. Solicitor General Stone, Chief of the General Litigation Division Christopher Hilton, and

Plaintiff took a leave of absence from the AG’s Office to help defend Texas Attorney General Ken

Paxton in his impeachment trial.

    15. Other attorneys who served in the AG’s Office at the time, Amy Hilton (no relation to

Christopher Hilton), Joe Mazzara, Allison Collins, and Kateland (Katie) Jackson, also took a leave

of absence from the AG’s Office to join Stone Hilton PLLC for the purpose of assisting in

defending Texas Attorney General Paxton against the impeachment charges.

    16. On June 16, 2023, while working for Stone Hilton PLLC, Christopher Hilton, Judd Stone,

Kateland (Katie) Jackson, and Plaintiff went to the Mort Subite Belgian Beer Bar for lunch. While

there, Christopher Hilton and Judd Stone ordered four shots, one for each person at the table,

without Plaintiff’s consent, and asked Plaintiff to take a shot. After taking one sip, Plaintiff stated,

“That is the most disgusting thing I have ever tasted,” to which Judd Stone replied, “I highly doubt

that is the most disgusting thing that has ever been in your mouth.” Plaintiff looked at Christopher




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Hilton for help, but Christopher Hilton did nothing other than wince and laugh uncomfortably at

Stone’s comment.

   17. While working at Stone Hilton PLLC, apparently unaware of state and federal laws

prohibiting harassment, Judd Stone later told Plaintiff, at the Stone Hilton PLLC office: “In this

firm, there are no rules. You can say whatever slurs you want.” This comment was also witnessed

by Christopher Hilton, Allison Collins, Amy Hilton, Joe Mazzara, and Kateland (Katie) Jackson.

   18. While working for Stone Hilton PLLC, on or around June 20, 2023, although no one had

asked her to order lunch, Plaintiff texted everyone at the office to see whether they would like her

to bring lunch on her way in. Judd Stone wanted BBQ. While working at Stone Hilton PLLC, Judd

Stone had previously made it clear to Plaintiff that if he asked for something, Plaintiff was to make

it happen. Plaintiff tried to place an order for BBQ at several restaurants, but none of them were

accepting large orders at that time. Eventually, Plaintiff found a BBQ restaurant that would accept

a large order at that time. She placed the order and picked it up. When Plaintiff arrived at the office

with lunch, Judd Stone and Christopher Hilton were upset that it took so long for the food to arrive.

Judd Stone yelled at Plaintiff about how he was going to “punish” her. This was in front of

Christopher Hilton, Joe Mazzara, Kateland (Katie) Jackson, Amy Hilton, Allison Collins, and a

third party who did contract work for Stone Hilton PLLC named Ben Williams. Upon information

and belief, Christopher Hilton and Judd Stone then went to the bank and then to a bar. At 5:15 p.m.

that day, Judd Stone texted Plaintiff in a group chat to Plaintiff, Judd Stone, and Christoper Hilton,

stating, “Please don’t leave the office until we return. (Approx 30 min) FYI, it’s been one Eskew

since we left. Aka 133 minutes.” Plaintiff replied, “I'm still here! Sorry again about lunch. Truly

sorry.” Once Judd Stone and Christopher Hilton returned, they announced, within earshot of

Plaintiff, to Joe Mazzara, Kateland (Katie) Jackson, Amy Hilton, and Allison Collins, that they



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were going to “deal with Jordan [Plaintiff].” They summoned Plaintiff to a separate room and

began to berate her in a hostile and abusive manner. Once they were finished, Christopher Hilton

continued to verbally abuse Plaintiff, asking: “Do you think you can make yourself cry before you

walk out? You know, to mess with everyone.”

   19. While working at Stone Hilton PLLC, around July 17, 2023, at the Stone Hilton PLLC

office, Judd Stone called Plaintiff “white trash” because she was wearing turquoise earrings. This

comment occurred in front of Christopher Hilton, who did nothing to correct Stone or stop him.

   20. While working for Stone Hilton PLLC, around July 28, 2023, at the Stone Hilton PLLC

office, Plaintiff sent Judd Stone his reimbursement spreadsheet for him to approve or make

changes to before sending to the accountant for Stone Hilton PLLC. In front of Kateland (Katie)

Jackson, Amy Hilton, and Allison Collins, Judd Stone began screaming at Plaintiff that there was

something missing.

   21. While working for Stone Hilton PLLC, on or about August 2, 2023, at the Stone Hilton

PLLC office, Plaintiff was told she needed to pick up a propane tank so Joe Mazzara could grill at

the office the following day. It was about 4:00 p.m., and Plaintiff asked Judd Stone and Christopher

Hilton if she could head home, pick up the propane tank on her way home, and bring it to the office

the following morning. Judd Stone and Christopher Hilton said yes, that sounded great. The next

morning, Plaintiff brought breakfast tacos for everyone and the propane tank. Plaintiff was asked

by Mazzara why the propane tank wasn’t there the day before, to which Plaintiff replied that she

had gotten permission from Judd Stone and Christopher Hilton to bring it in that day. According

to Joe Mazzara and Kateland (Katie) Jackson, Judd Stone told them that he was angry at Plaintiff

because the propane tank wasn’t there the day before (even though the day before, he had given




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her permission to bring it in the following day). Mazzara told Judd Stone he would talk to Plaintiff

about it, and Stone told him, “Fine, as long as you bitch her out.”

   22. While working for Stone Hilton PLLC, on August 4, 2023, Plaintiff was at the Stone Hilton

PLLC office. Judd Stone was hanging over the upstairs railings screaming at the female attorneys,

all of which worked on the ground floor with Plaintiff at that time. Plaintiff received a text from

Amy Hilton, asking her (referring to Plaintiff’s previous position working with Solicitor General

Stone at the AG’s Office): “Was Judd like this on the 8th floor? Is he serious when he screams or

is it a show?”

   23. While working at Stone Hilton PLLC, also in August 2023, at the Stone Hilton PLLC

office, Judd Stone asked Plaintiff to make him an alcoholic drink, a “Manhattan.” Plaintiff did not

know how to make a “Manhattan,” so he gave her instructions. As she made the drink, he told her

she needed to fill it higher, to which Plaintiff responded, “I promise you, it’s full.” Judd Stone then

told Plaintiff: “If anyone else makes a comment about my drinking, they’ll be fired.” This incident

was witnessed by Christopher Hilton, Allison Collins, Amy Hilton, Joe Mazzara, and Kateland

(Katie) Jackson, who did nothing to correct Stone or stop him.

   24. While working for Stone Hilton PLLC, Plaintiff regularly observed Christopher Hilton and

Judd Stone drinking alcohol at the Stone Hilton PLLC office during the workday. On at least two

occasions, they asked Plaintiff to go buy liquor and beer as part of her job duties, at least once

from Specs and once from a convenience store. On at least two occasions, Judd Stone asked

Plaintiff to make him an alcoholic drink at the office as part of her job duties.

   25. Defendant Stone Hilton PLLC also refused to pay Plaintiff wages and reimburse her

expenses as promised. Specifically, Stone Hilton PLLC promised to pay Plaintiff an annual salary

of $180,000, i.e., wages of $15,000 a month, not including any bonus or expense reimbursement



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(see attached spreadsheet, attached as Exhibit 1 and hereby incorporated by reference, showing

Stone Hilton PLLC promised Plaintiff an annual salary of $180,000), but instead paid her wages

of $10,000 a month, not including any bonus or expense reimbursement. Defendant Stone Hilton

PLLC owes Plaintiff the difference between the monthly wages it promised her and the monthly

wages it actually paid her, i.e., $5,000 a month in wages, not including any bonus or expense

reimbursement, for four months, or $20,000 in wages. These wages were promised to Plaintiff by

Stone Hilton PLLC and remain unpaid.

   26. Stone Hilton PLLC also failed to reimburse Plaintiff expenses of $4,562.02. Plaintiff

submitted to Stone Hilton PLLC the spreadsheets attached by reference as Exhibit 2 and hereby

incorporated by reference. These spreadsheets identify Plaintiff’s unreimbursed expenses. Plaintiff

previously submitted these spreadsheets outlining her expenses to Stone Hilton PLLC, with

receipts substantiating those expenses. Stone Hilton PLLC promised to reimburse Plaintiff for

these expenses; however, to date, the expenses remain unpaid by Stone Hilton PLLC.

   27. In October of 2023, after Texas Attorney General Paxton’s impeachment trial had

concluded, Plaintiff, Judd Stone, Christopher Hilton, Amy Hilton, Joe Mazzara, and Kateland

(Katie) Jackson returned to the AG’s office for employment. Judd Stone returned to the AG’s

Office as the Solicitor General. Christopher Hilton returned to the AG’s Office as the Chief of the

General Litigation Division.

   28. Once back at the AG’s Office, both Amy Hilton and Plaintiff reported Judd Stone’s and

Christopher Hilton’s treatment of them at Stone Hilton PLLC to Brent Webster, first assistant to

Texas Attorney General Paxton. Webster confronted Judd Stone and Christopher Hilton about

Amy Hilton’s and Plaintiff’s allegations, and Stone promptly admitted that all of the allegations




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were true and that the actions described by Amy Hilton and Plaintiff did indeed happen, and

Christopher Hilton did not contest the allegations made by Amy Hilton and Plaintiff.

   29. Webster therefore recommended to Attorney General Paxton that Judd Stone’s and

Christopher Hilton’s employment by the AG’s Office be terminated, and Attorney General Paxton

agreed.

   30. Webster also instructed Amy Hilton and Plaintiff to report Judd Stone’s and Christopher

Hilton’s treatment of them at Stone Hilton PLLC to Grant Dorfman, former deputy first assistant

to the Texas Attorney General, who now serves as a judge appointed by Texas Governor Greg

Abbott, which they did.

   31. When Judge Dorfman met with Solicitor General Stone and Chief of the General Litigation

Division Hilton and confronted them about the allegations made against them by Amy Hilton and

Plaintiff, Stone admitted to Judge Dorfman that the allegations made by Amy Hilton and Plaintiff

against him and Chief of the General Litigation Division Christopher Hilton were true and stated

that it was “okay” because it was during their time at a private law firm, and Christopher Hilton

did not contest the allegations made by Amy Hilton and Plaintiff.

   32. The AG’s Office instructed Judge Dorfman to carry out the termination process. Judge

Dorfman informed Stone and Christopher Hilton that if they did not resign, they would be

terminated.

   33. On October 17, 2023, at the end of their conversation with Judge Dorfman, Stone and

Christopher Hilton submitted their resignations from the AG’s Office. See Hilton resignation letter,

attached and incorporated by reference as Exhibit 3; see Stone resignation text, attached and

incorporated by reference as Exhibit 4. These resignation letters were obtained by Plaintiff from

the AG’s office via a Public Information Act request.



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   34. Upon information and belief, Defendant Stone had previously been asked to resign from

his position working for U.S. Senator Ted Cruz due to allegations of sexual harassment against

Stone, including that Stone had sexually harassed female interns who worked for Senator Cruz.

   35. Judd Stone and Christopher Hilton now practice law with Stone Hilton PLLC.

   36. After being asked to resign from the AG’s Office, Judd Stone sent a letter to the AG’s

Office. On December 2, 2024, after Judd Stone sent this letter to the AG’s Office, first assistant to

Texas Attorney General Paxton, Brent Webster, wrote the following email, which email is attached

as Exhibit 5 and hereby incorporated by reference (“Webster email”):

       Josh,

       Based on the attached letter from Judd Stone containing many false statements, I
       have serious safety concerns for my family and me. If you’ll recall, we gave Judd
       the opportunity last year to resign instead of being fired for credible complaints of
       sexual misconduct by two female OAG employees. It appears he is still very much
       obsessed with me, and given what has transpired in the past, and things he’s done
       or told me, I think you’ll understand my fear:

       1. As Judd Stone and Chris Hilton returned to the agency, two women who worked
       with him over the summer asked to immediately meet with me upon learning that
       Judd and Chris were planning to return. Both of these women were long time
       employees of OAG that had taken a leave of absence to join Judd and Chris’s law
       firm to assist with defending Ken Paxton against his baseless and unjust
       impeachment. In summary, both women asked me how I would protect them from
       Judd and Chris and informed me of Judd having sexually harassed them. They were
       also afraid that Judd might continue his abuse and might physically and/or sexually
       assault or harass them at OAG. They both informed me that they came to fear him
       as a result of working in close quarters with him in a small house that he picked out
       for them all to do impeachment work in. They also expressed their disappointment
       with Chris Hilton who just sat there and watched Judd harass them over the summer
       without speaking up in their defense.

               a. The first female employee came to me on October 13, 2023. I asked
                  Ralph Molina to join the conversation with me, so that I had a witness.
                  Through many tears, she told me stories of Judd discussing sexual things
                  with her, specifically regarding a disturbing sexual fantasy Judd had
                  about me being violently anally raped by a cylindrical asteroid in front
                  of my wife and children. According to this employee, Judd publicly
                  described this in excruciating detail over a long period of time, to a

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       group of OAG employees, Office of the Governor employee(s), federal
       judges, and other non-government employees at a table. Chris Hilton
       was present for this conversation. The female employee conveyed that
       she was so disgusted by the violent sexual nature of the discussion that
       she left the table to get away from it. When she came back, people at
       the table harassed her, joking that she “couldn’t handle people talking
       about dicks.” Chris Hilton was clearly aware that this female employee
       was uncomfortable, shrugged at her, and did nothing. The female
       employee had other concerns about treatment of women and sexual
       harassment and exhibited emotional distress as she told me this story.
       She tearfully expressed to me that she could never work with Chris or
       Judd ever again. We finished the long conversation at the close of
       business. I was so disturbed by the violent sexual fantasies about me
       that I took the weekend to process the news.

    b. Immediately following this, on Monday, a second female employee
       messaged me asking to meet with me immediately about Judd and Chris.
       Ralph Molina was not available, so I asked my Executive Assistant,
       Gayla Schwab, to be my witness. This second female employee asked
       me what I would be doing to protect her from Judd and Chris now that
       they were returning to the office. This employee told a different story of
       sexual comments being made towards her, specifically one where Judd
       discussed people putting sexual organs in her mouth. Chris was present
       for these comments and this employee asked Chris for assistance and he
       apparently dismissed her comments and placed approval on Judd’s
       actions. Additionally, this second female employee told me stories of
       abuse, where she was cornered alone in offices with Judd and Chris and
       was screamed at and berated to “cry” for failing to get Judd and Chris
       their catered lunch on time.

    c. Both women went out of their way to confirm that they knew that AG
       Paxton knew nothing about this, and that they wanted to make sure that
       I told AG Paxton so that he knew the danger that Judd and Chris posed
       to them and perhaps other women. Both women believed that AG
       Paxton would protect them from Judd and Chris. (As you will note later,
       AG Paxton did take immediate action once he learned of the horrifying
       conduct Chris and Judd engaged in).

               i. This was consistent with my understanding of the
                  impeachment defense as I knew that AG Paxton was not
                  present with Stone Hilton at their makeshift office, and he
                  predominantly was working with Tony Buzbee, Dan
                  Cogdell, and Mitch Little as his primary defense lawyers.

    d. On Monday after meeting with the second female employee, I sought
       immediate legal advice from HR, General Counsel, Criminal, and other

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           lawyers at my disposal. I also notified AG Paxton. AG Paxton was
           shocked and appalled by what he learned and agreed with the legal
           advice to take immediate action to prevent future harm to these women.

       e. It was decided that the allegations were credible and of such nature that
          immediate action had to be taken. Eventually Judd was confronted with
          the allegations against them, and promptly admitted that all of the
          allegations were true and that the actions described by the two females
          did indeed happen. Since they were both back at the office, we had to
          move fast with the termination to protect both women and other female
          employees at OAG. No further investigation into the allegations was
          necessary given that Judd had admitted to the conduct at issue. State law
          requires that the OAG and managers immediately take action to stop
          sexual harassment, and failure to take immediate action could result in
          financial liability for managers and for the OAG. Additionally, Pursuant
          to legal advice from HR, it is customary to allow people to resign in lieu
          of termination. Judd and Chris would be notified that they would be
          terminated if they did not resign. Former Deputy First Assistant Grant
          Dorfman was assigned to carry out the termination process. Grant
          Dorfman now serves as a judge, appointed by Governor Abbott.

       f. As described above, during the termination process, Judd admitted to
          Judge Dorfman that the allegations were true, including the comments
          about his desires to watch me be anally raped in front of my kids, but
          that it was ok because it was during their time at a private law firm.
          Chris did not contest the allegations. Judd and Chris submitted their
          resignation at the end of their conversation with Judge Dorfman, on
          October 17, 2023.

1. After Judd was promoted to be Solicitor General, I took Judd to lunch at Lupe
   Tortilla in north Austin to get to know him a little better. I learned about Judd’s
   life story. He decided to let me know that he had [redacted by AG’s Office]. He
   assured me that he [redacted by AG’s Office]. Based off the lies in this attached
   letter he sent, his past history with women, and his pedophilic desire to have
   my children see me raped by a cylindrical asteroid, I am concerned that Judd is
   no longer [redacted by AG’s Office] and poses a physical threat to me and my
   family.

2. Since Judd was terminated, I also have learned that Judd was let go from
   Senator Ted Cruz’s office for complaints from women. I have not had time or
   reason to corroborate these facts, but based on the allegations made by the two
   OAG employees, I believe there is potential for this to be true.

3. I also learned last year after he was terminated that he has claimed he used be
   physically violent towards sex workers. I do not know if this is true and cannot



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           corroborate it. The important thing is, regardless of whether this is true, what
           kind of person would say this?

       4. He claimed last summer he had a stalker in order to get security, which he was
          given, and he was given a special parking spot that would have been blocked
          off from access by his alleged stalker. We have since learned this was not the
          case, and there may be some question about whether his [redacted by Plaintiff],
          in response to which we gave him government resources, was a [redacted by
          Plaintiff] episode.

       Basically, Judd has shown a pattern of obsessing over me in a disturbing way,
       something one of the female complainants expressed to me when she met with me.
       He fantasizes about me being raped in front of my minor children, he brags about
       being a [redacted by Plaintiff] and being a dangerous violent person and needing
       [redacted by Plaintiff] to keep him restrained, he is willing to sexually and
       physically intimidate women that work for him, he has [redacted by Plaintiff] about
       people being out to get him, and he has claimed that he has been violent towards
       sex workers. The rape fantasies, the bragging about past violence and current
       violent tendencies, and [redacted by Plaintiff]—these are all classic indications of
       a deeply unhinged obsessive human being who is one missed [redacted by Plaintiff]
       or bad day away from murder.

       Thank you,
       Brent Webster
       First Assistant Attorney General of Texas

Exh. 5 (emphasis in original).

   37. Defendants Judd Stone, Stone Hilton PLLC, and Christopher Hilton obtained a copy of the

Webster email through a Public Information Act request, as did Plaintiff.

   38. Plaintiff filed a sexual harassment charge at the Texas Workforce Commission (TWC)

against Defendants. Upon information and belief, in response to Plaintiff’s TWC Charge against

Defendants, Defendants admitted some of the conduct alleged in paragraphs 16, 17, 18, 19, 20, 21,

22, 23, 24, 25, and 26 above is true and alleged that the admitted conduct was not sexual in nature.

   39. Plaintiff has not yet received a right-to-sue letter from the TWC.

   40. Upon information and belief, Amy Hiton, Joe Mazzara, Allison Collins, and Kateland

(Katie) Jackson have entered into settlement agreements with Defendants, pursuant to which each



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received money in exchange for promising not to disparage Defendants, among other promises.

Upon information and belief, Amy Hiton, Joe Mazzara, Allison Collins, and Kateland (Katie)

Jackson agreed in their settlement agreements to the following statement or a statement

substantially similar to the following: “We are proud of our work together at Stone Hilton when

we successfully defended Attorney General Ken Paxton in his impeachment trial. The four months

we spent together were some of the most intense of our legal careers, and we were each impressed

by the ability, integrity, and professionalism of our colleagues. While we have parted ways

professionally, we did so amiably, and hold each other in nothing but the highest regard. We wish

one another the best at the Office of the Texas Attorney General and Stone Hilton, respectively.”

   41. Prior to Plaintiff’s filing of this lawsuit, Defendants asked Plaintiff to agree that: “We are

proud of our work together at Stone Hilton when we successfully defended Attorney General Ken

Paxton in his impeachment trial. The four months we spent together were some of the most intense

of our legal careers, and we were each impressed by the ability, integrity, and professionalism of

our colleagues. While we have parted ways professionally, we did so amiably, and hold each other

in nothing but the highest regard. We wish one another the best at the Office of the Texas Attorney

General and Stone Hilton, respectively.” She refused.

              Intentional Infliction of Emotional Distress against All Defendants

   42. Plaintiff incorporates the foregoing paragraphs by reference.

   43. Defendants intentionally or recklessly engaged in extreme and outrageous non-sexual

conduct that caused Plaintiff severe emotional distress. As a result of Defendants’ actions, Plaintiff

has suffered, and will continue to suffer, severe emotional distress.

   44. Because Defendants acted with malice and/or gross negligence, Plaintiff is entitled to

punitive damages.



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             Violations of the Fair Labor Standards Act against All Defendants

   45. Plaintiff incorporates the foregoing paragraphs by reference.

   46. Stone Hilton PLLC is an employer as defined by 29 U.S.C. § 203(d).

   47. Stone Hilton PLLC has employees subject to the provisions of 29 U.S.C. § 206 in the

facility where Plaintiff was employed.

   48. At all times material to this complaint, Stone Hilton PLLC employed two or more

employees and had an annual dollar volume of sales or business done of at least $500,000.

   49. At all times material hereto, Defendants Judd Stone and Christopher Hilton actively ran

the business of Stone Hilton PLLC on a day-to-day basis; acted directly or indirectly in the interest

of Stone Hilton PLLC in relation to Plaintiff’s employment; and were substantially in control of

the terms and conditions of Plaintiff’s work.

   50. Defendants Judd Stone and Christopher Hilton had the ability to hire and fire employees,

supervised or controlled employees’ work schedules and conditions of employment, and

determined the rate and method of payment of wages to employees. Defendants Judd Stone and

Christopher Hilton were Plaintiff’s employer as defined by 29 U.S.C. § 203(d).

   51. Plaintiff worked for Defendants Stone Hilton PLLC, Judd Stone, and Christopher Hilton

as an executive assistant. She reported to Judd Stone and Christopher Hilton. Her duties included:

performing clerical and secretarial tasks as directed by Judd Stone and Christopher Hilton;

attending meetings; taking and organizing meeting notes; placing and picking up lunch orders;

keeping the refrigerator and snack cabinet stocked; seeking approval for payment of invoices from

third parties and, upon approval, processing payment for those invoices; seeking approval for

expenses submitted by Stone Hilton PLLC employees and, upon approval, communicating

approval of those expenses; making deposits; saving and organizing documents electronically;



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communicating with vendors; running errands; entering contact information electronically;

responding to emails; assembling trial exhibits; opening and forwarding mail; and making dinner

reservations.

   52. As an assistant for Stone Hilton PLLC, Plaintiff’s primary duty was not the performance

of work directly related to the management or general business operations of Stone Hilton PLLC.

Nor did Plaintiff exercise discretion or independent judgment with respect to matters of

significance. Plaintiff did not have authority to commit Stone Hilton PLLC in matters that had

significant financial impact. Plaintiff did not have authority to negotiate and bind Stone Hilton

PLLC on significant matters. Plaintiff did not provide consultation or expert advice to

management. Plaintiff was not involved in planning long- or short-term business objectives.

Plaintiff did not investigate and resolve matters of significance on behalf of management. Plaintiff

did not represent Stone Hilton PLLC in handling complaints, arbitrating disputes, or resolving

grievances. Likewise, Stone Hilton PLLC did not have the authority to formulate, affect, interpret,

or implement management policies or operating practices. Rather, Plaintiff was required to apply

existing policies and procedures. Plaintiff could not waive or deviate from established policies and

procedures without prior approval.

   53. Plaintiff was, at all times material hereto, individually engaged in interstate commerce, as

her work was directly related to the movement of things (including information) across state lines.

Plaintiff’s regular and recurring work included the use of the Internet, telephone, a computer email

system, and other channels of interstate commerce.

   54. During one or more weeks of Plaintiff’s employment by Stone Hilton PLLC, Judd Stone,

and Christopher Hilton, Plaintiff worked in excess of forty (40) hours.




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   55. Throughout the employment of Plaintiff, Defendants Stone Hilton PLLC, Judd Stone, and

Christopher Hilton repeatedly and willfully violated Sections 7 and 15 of the Fair Labor Standards

Act by failing to compensate Plaintiff at a rate not less than one and one-half times her regular pay

rate of pay for each hour worked in excess of 40 hours in a workweek.

   56. As a result of Stone Hilton PLLC’s, Judd Stone’s, and Christopher Hilton’s unlawful

conduct, Plaintiff is entitled to actual and compensatory damages, including the amount of

overtime wages that should have been paid but were not paid.

   57. Stone Hilton PLLC, Judd Stone, and Christopher Hilton failed to act reasonably to comply

with the FLSA, and as such, Plaintiff is entitled to an award of liquidated damages in an equal

amount as the amount of unpaid wages deemed to be owed pursuant to 29 U.S.C. § 216(b).

   58. Plaintiff is also entitled to an award of reasonable and necessary attorneys’ fees, costs,

expert fees, mediator fees, and out-of-pocket expenses incurred by bringing this action pursuant to

29 U.S.C. § 216(b) and Rule 54(d) of the Federal Rules of Civil Procedure.

   59. Plaintiff has retained the law firm of Frost Domel PLLC to represent her in this action.

Plaintiff has entered into a valid contract with Frost Domel PLLC and has appointed the

undersigned counsel to be her sole agent, attorney-in-fact, and representative in this suit, exclusive

of all other parties, including Plaintiff. To avoid tortious interference with Plaintiff’s obligations

to her attorneys in this suit, all communications concerning this suit must be made by Defendants’

attorneys solely to and through the undersigned counsel. Plaintiff’s contract with and

representation by the undersigned attorney gives rise to a claim for reasonable and necessary

attorneys’ fees that Plaintiff is entitled to collect against Stone Hilton PLLC, Judd Stone, and

Christopher Hilton pursuant to 29 U.S.C. § 216(b).




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  Breach of Contract/Promissory Estoppel/Quantum Meruit against Stone Hilton PLLC

   60. Plaintiff incorporates the foregoing paragraphs by reference. Defendant Stone Hilton

PLLC owes Plaintiff the difference between the monthly wages it promised her and the monthly

wages it actually paid her, i.e., $5,000 a month in wages, not including any bonus or expense

reimbursement, for four months, or $20,000 in wages. These wages were promised to Plaintiff by

Stone Hilton PLLC and remain unpaid.

   61. Stone Hilton PLLC also owes Plaintiff unreimbursed expenses of $4,562.02. Stone Hilton

PLLC promised to reimburse Plaintiff for these expenses; however, to date, the expenses remain

unpaid by Stone Hilton PLLC.

   62. Stone Hilton PLLC made promises to Plaintiff—specifically, that it would pay Plaintiff an

annual salary of $180,000 year and that it would reimburse Plaintiff’s expenses; Plaintiff

reasonably and substantially relied on the promises to her detriment; Plaintiff’s reliance was

foreseeable by Stone Hilton PLLC; and injustice can be avoided only by enforcing Stone Hilton

PLLC’s promises.

   63. Plaintiff provided valuable services; the services were provided for Stone Hilton PLLC;

Stone Hilton PLLC accepted the services; and Stone Hilton PLLC had reasonable notice that

Plaintiff expected compensation for the services.

   64. There is a valid, enforceable contract; Plaintiff is a proper party to bring suit for breach of

contract; Plaintiff performed; Stone Hilton PLLC breached the contract, and Stone Hilton PLLC’s

breach caused Plaintiff injury.

   65. All conditions precedent have been performed or have occurred.




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   66. As a result of Stone Hilton PLLC’s failure to pay Plaintiff wages and reimburse expenses

as it promised, Plaintiff has suffered actual damages. Plaintiff also seeks reasonable attorney fees

and costs.

                                            Jury Trial

   67. Plaintiff demands a jury trial and has tendered the appropriate fee.

                                        Request for Relief
       Plaintiff respectfully requests that Defendants be cited to appear and answer and that, on

final trial, Plaintiff have judgment against Defendant(s) as follows:

   1. Direct or general damages in an amount within the jurisdictional limits of the court;

   2. Actual damages, including unpaid wages, unpaid expenses, and unpaid overtime;

   3. Liquidated damages under the FLSA;

   4. Past and future mental anguish damages, emotional pain, suffering, inconvenience, loss of

       enjoyment of life, and other non-pecuniary losses;

   5. Expert fees;

   6. Mediator fees;

   7. Punitive damages;

   8. Reasonable attorneys’ fees;

   9. Prejudgment interest as provided by law;

   10. Postjudgment interest as provided by law

   11. Court costs; and

   12. Such other and further relief to which Plaintiff may be justly entitled.




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                            Respectfully submitted,


                            FROST DOMEL PLLC
                            Emily Frost
                            State Bar No. 24036601
                            2499 S. Capital of Texas Hwy.
                            Suite B-203
                            Austin, Texas 78746
                            (512) 640-5501
                            emily@frostdomel.com




                           By:
                                  Emily Frost

                           ATTORNEYS FOR PLAINTIFF




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